         Case 1:19-cv-09439-PKC Document 17 Filed 10/17/19 Page 1 of 2

                                               UNITED STATES
                        SECURITIES AND EXCHANGE COMMISSION
                                            New York Regional Office
                                   Brookfield Place, 200 Vesey Street, Suite 400
                                            New York, NY 10281-1022



                                                                   October 17, 2019

 Via ECF

 Honorable P. Kevin Castel
 United States District Judge
 Southern District of New York
 500 Pearl Street
 New York, NY 10007

       Re:     SEC v. Telegram Group Inc. & TON Foundation Inc., No. 19 Civ. 9439 (PKC)

Dear Judge Castel:

         Plaintiff Securities and Exchange Commission (“Commission”) respectfully submits this
letter: (1) to apprise the Court of the status of the Commission’s efforts to work out a mutually
agreeable resolution to an issue concerning the redaction of confidential information from certain
documents relevant to this action; and (2) to seek additional time, until October 21, 2019, to
move to file certain of those documents under seal and in redacted form on ECF.

        As the Court knows, on Friday, October 11, 2019, the Commission filed an emergency
motion for an Order to Show Cause, Temporary Restraining Order and Order Granting
Expedited Discovery and Other Relief against Defendants Telegram Group Inc. and Ton Issuer
Inc. (the “Application”). In support of that Application, the Commission submitted the
Declaration of Daphna Waxman and a number of exhibits attached thereto. Twelve of those
exhibits contain information that is potentially entitled to confidential treatment on privacy
and/or proprietary information grounds. Over the past three days, the Commission has been
diligently attempting to work out an agreement with the entities whose documents are at issue as
to what to seek to file under seal and in redacted form on ECF, while still meeting the standards
for non-disclosure set forth in Lugosch v. Pyramid Company of Onondaga, 435 F.3d 110 (2d Cir.
2006).

        We had hoped to resolve this issue by now and intended to file the Waxman Declaration
and all exhibits on ECF well before now, along with a motion to seal those documents as to
which the parties sought protection. Unfortunately, the issue has taken longer to resolve than
expected.

        In order to avoid further delays, we have filed the Waxman Declaration and all of the
exhibits thereto as to which there are no confidentiality concerns on ECF this evening. We seek
leave of the Court to delay filing the remaining twelve exhibits on ECF until the parties are able
to resolve the confidentiality concerns, at which time we intend to file a motion for an Order
seeking to file certain of those documents under seal and in redacted form on ECF. We therefore
respectfully request until Monday, October 21, 2019 to file that motion.
         Case 1:19-cv-09439-PKC Document 17 Filed 10/17/19 Page 2 of 2
The Honorable P. Kevin Castel
October 17, 2019
Page 2


       Counsel for Defendants consent to this request.

                                                   Respectfully submitted

                                                   __/s/ Kevin P. McGrath___
                                                   Kevin P. McGrath
                                                   Senior Trial Counsel
                                                   Securities and Exchange Commission


cc (via ECF Only): Counsel for Defendants
